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                            UNITED STATES DISTRICT COURT
                            SOUTH ERN DISTRICT OF FLO RIDA

                      CASE NO.:17-CV-80345-M IDDLEBROOKS& M NNON

 SHELLA FLEU RISM A ,

         Plaintiff,



 OCW EN LOAN SERVICING,LLC,

         Defendant.
                                               /

                                  ORDER CLOSING CASE

         THISCAUSE comesbeforetheCourtonaJointStipulationofDismissalW ith Prejudice.
 (DE 23).TheCourtcommendsthePartiesfortheiramicableresolutionofthismatter.TheCourt
 notes,however,thatpursuanttoAnago Franchising,Inc.v.Shaz,LLC,677F.3d 1272 (11th Cir.
 2012),theParties'Stipulation isself-executing and no orderofthe Courtisrequired to dismiss
 thisaction. Accordingly,itis
         O RDERED and ADJUDGED that the Clerk of Court shallCLO SE this CASE and

 DENY a1lpending motionsasM OOT.
         DONE AND ORDERED in Chambersin W estPalm Beach,Florida,this           day ofJuly,

 2017.




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 Copiesto:      CounselofRecord
